      IN THE DISTRICT COURT OF THE UNITED STATES
     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                  CHARLOTTE DIVISION

 UNITED STATES OF AMERICA           )
       Plaintiff-Appellee           )
                                    )
 v.                                 )
                                    )        DOCKET NO: 3:19-cr-127
 CYNTHIA WILLIAMS-                  )
 SINGLETON                          )
          Defendant-Appellant.      )
                                    )
 _____________________________________

                 MOTION TO EXTEND TIME TO
          SELF-SURRENDER FOR SERVICE OF SENTENCE


     NOW COMES Defendant Cynthia Williams-Singleton, by and

through her counsel of record, James W. Kilbourne, Jr., and respectfully

requests that this Court to extend the time for her self-surrender to the

Bureau of Prisons. As grounds therefor, it is averred:

     1.     Ms. Williams-Singleton was sentenced by this Court to a

term of twenty-seven months of incarceration on January 30, 2020, and

the judgment was issued the following day, January 31, 2020. The

Court held a hearing pursuant to Fed. R. Cr. P. 35(a) on motion of the

defense on February 11, 2020 and left the sentence undisturbed.



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        2.   On February 28, 2020, Ms. Williams-Singleton filed an

Unopposed Motion to Extend Time to Self-Surrender for Service of

Sentence, which was granted by this Honorable Court on March 4, 2020,

extending her reporting deadline to April 1, 2020.

        3.   On March 23, 2020, Ms. Williams-Singleton filed a Second

Motion to Extend Time to Self-Surrender for Service of Sentence for

concerns involving COVID-19, which was granted by this Honorable

Court on March 24, 2020, extending her reporting deadline to May 1,

2020.

        4.   On March 25, 2020, the United States filed a Motion to

Extend Time to Self-Surrender for Service of Sentence at the request of

the Bureau of Prisons for concerns involving COVID-19, which was

granted by this Honorable Court on March 25, 2020, extending her

reporting deadline to July 1, 2020. The Bureau of Prisons indicated

that it may be necessary to request further extension.

        5.   The undersigned was appointed counsel for Ms. Williams-

Singleton by the Fourth Circuit Court of Appeals on May 21, 2020.




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     6.    Currently, Ms. Williams-Singleton is the primary caregiver

for her minor daughter and her grandmother. She has been attempting

to make arrangements for the care of both during her incarceration.

     7.    Because of the quarantine restrictions during the COVID-19

pandemic, much activity was stopped, and travel restrictions prevented

Ms. Williams-Singleton from completing the required arrangements.

     8.    During the epidemic, nursing homes have been particularly

hard hit and stopped accepting new patients. Assuming restrictions

continue to abate, Ms. Williams-Singleton has obtained a bed for her

Grandmother in a New York area facility on August 15, 2020.

     9.    Ms. Williams-Singleton’s sister has agreed to care for the

Defendant’s minor daughter. Unfortunately, travel restrictions related

to COVID-19 prevented Ms. Williams-Singleton or her sister from

travelling. The current plan is for Ms. Williams-Singleton’s sister to

travel to South Carolina when the travel restrictions are lifted in New

York. When the school year begins, Ms. Williams-Singleton’s daughter

will travel with her sister to New York for the school year.

     10.   Appellant requests an extension to September 1, 2020 to

voluntarily report.



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     11.   The Government defers to the Court on this motion.

     WHEREFORE, for the above-stated reasons, Ms. Williams-

Singleton to extend the time for her self-surrender to the Bureau of

Prisons.

     This the 15th day of June, 2020.



                              s/ James W. Kilbourne, Jr.         d
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